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Boston regional office among five
shuttered by health agency cuts
Administers child care, fuel assistance for low-income families
By Julian E.J. Sorapuru Globe Staff, Updated April 1, 2025, 6:33 p.m.




Secretary of Health and Human Services Robert F. Kennedy, Jr., at the US Capitol in Washington last month. ERIC LEE/NYT


A federal office in Boston that administers child care and fuel assistance for low-income
families in New England is among the regional divisions of the US Department of Health
and Human Services where most employees were terminated Tuesday.
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The cuts were part of a larger move to shrink the HHS workforce by up to 10,000
employees, Secretary Robert F. Kennedy Jr. said last week. News reports Tuesday
detailed cuts across HHS, including at the Food and Drug Administration and Centers
for Disease Control. According to the office of US Representative Katherine Clark of
Revere, Boston was one of five regional offices shuttered, all in major cities.

One of the main functions of the New England regional office of the Administration for
Children & Families (ACF) is to help administer Head Start, a federal program that
provides funding for young children from low-income families to receive early education
services.

The federal government, through ACF, provides hundreds of millions of dollars a year for
some of the state’s poorest people. In one program, the Low Income Home Energy
Assistance Program (LIHEAP), which helps families with energy bills, Massachusetts
was slated to receive more than $144 million.

Another grant program for children and families, Social Services Block Grants,
provided the state Department of Children and Families with close to $47 million in
2024 and 2025, and almost $1 million to the Massachusetts Commission for the Blind. In
total, state officials work with the ACF to distribute more than $700 million in child care
funding annually, according to a statement from Governor Maura Healey. The status of
those funds and how they would continue to be administered was unclear after the
terminations.

“We are concerned that this closure could impact people’s ability to access this funding,
which is essential for lowering the cost of child care and home heating,” Healey said in
the statement.

According to those with knowledge of the situation and documents reviewed by the
Globe, an email was sent out around 5:30 a.m. Tuesday informing employees they were
being placed on paid administrative leave for 60 days, after which they would be fully
terminated.
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“Today, the prevailing emotion is really just devastation,” an affected ACF Boston
employee, who asked to remain anonymous because she is technically still employed by
the federal government, told the Globe. She estimates about 50 people from her office
were laid off. “We’re worried that with gutting the office, it could make child care and
children less safe. I think it’ll make child care less accessible and affordable.”

Some employees first learned of their impending terminations when they arrived to work
Tuesday morning to find their building badges invalid, according to multiple former
HHS employees.

The ACF office in the JFK federal building was still open as of 3 p.m. Tuesday, but only a
few workers were visible. One said there had been layoffs Tuesday, but no one was willing
to talk further, instead referring a reporter to an HHS spokesperson. Calls and emails to
program directors listed on the regional office website went to voicemail and resulted in
out of office replies directing inquiries to representatives in other regions.

Multiple requests for comment to HHS and ACF went unanswered.

The affected ACF employee, who had been working in the office for nearly a decade, said
the terminated workers have “received absolutely no guidance” about how to handle
records or retrieve personal effects left in their office. They also haven’t been briefed, she
said, on how to return their government-issued devices, which they lost access to at
around 1 p.m. Tuesday.

Michelle Haimowitz, executive director of the Massachusetts Head Start Association,
said her organization hadn’t “received any official word” on the staff changes, “or what
the plan is to deal with this and ensure that programs receive services.”

“We don’t yet know who our new points of contact will be,” she added. “Everyone in our
region was terminated.”
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Haimowitz said about 10,000 children in Massachusetts benefit from the Head Start
program and the terminated employees had helped oversee and administer programs
and grants “to keep the lights on and serve children.”

Other ACF regional offices impacted by the lay offs include New York, Chicago, San
Francisco, and Seattle, according to Clark’s office. Five of a total of 10 offices
nationwide have been shuttered, as was laid out in Kennedy’s memo last week.

The Massachusetts staff assigned to the Low Income Home Energy Assistance Program,
which ACF runs, were also terminated. In fiscal year 2023, the program helped over
150,000 low-income families in Massachusetts pay their heat bills, according to Clark’s
office. The program enabled those families to save, on average, about $1400 on the bills
that year, they said.

“Trump and Republicans are coming after Head Start, and today’s cuts are just the
beginning,” Clark said in a statement. “This is a direct attack on millions of families who
are working overtime to pay their bills and give their kids a great start. Everything
Republicans campaigned on was a lie — they don’t care about making life easier and
more affordable.”

According to another HHS employee who was part of the layoffs, but previously oversaw
one of the agency’s low-income programs, LIHEAP grant recipients should expect
“significant delays” in future funding as a result of the layoffs. The employee also asked
to remain anonymous because he is still technically employed.

“Who’s going to help these low-income folks when they go into the local intake office and
feel discriminated against or are given the runaround?” he asked.

The Republican and Democratic leaders of a key Senate health committee on Tuesday
called on Kennedy to testify before them next week about the restructuring and layoffs.
In a joint letter, Senators Bill Cassidy, a Louisiana Republican, and Bernie Sanders, a
Vermont independent who caucuses with Democrats, set the hearing for April 10, noting
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that Kennedy pledged to come before their committee quarterly during his confirmation
process.

That promise was a key reason that Cassidy agreed to vote for Kennedy after
expressing serious reservations about Kennedy’s long history of questioning the safety of
proven vaccines.

Tal Kopan, Jason Laughlin, and Travis Anderson of the Globe staff contributed to this
report.



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